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 6   Attorneys for Plaintiff
     The United States of America
 7
                                    UNITED STATES DISTRICT COURT
 8                                       DISTRICT OF NEVADA
 9   UNITED STATES OF AMERICA,                           Case No. 2:20-mj-00948-NJK00847-NJK-XXX

10                   Plaintiff,                          Stipulation to Extend
                                                         Deadlines to Conduct
11          v.                                           Preliminary Hearing and
                                                         File Indictment (First Request)
12   JUAN JOSE MORENO-GALLARDO,
       aka “Juan Jose Moreno,”
13
                     Defendant.
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16          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.

17   Trutanich, United States Attorney, and Jared L. Grimmer, Assistant United States

18   Attorney, counsel for the United States of America, and Brandon C. Jaroch, Assistant

19   Federal Public Defender, counsel for Defendant JUAN JOSE MORENO-GALLARDO,

20   that the Court schedule the preliminary hearing in this case for no earlier than 90 days from

21   the date of the filing of this stipulation. This request requires that the Court extend two

22   deadlines: (1) that a preliminary hearing be conducted within 14 days of a detained

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1    defendant’s initial appearance, see Fed. R. Crim. P. 5.1(c); and (2) that an information or

2    indictment be filed within 30 days of a defendant’s arrest, see 18 U.S.C. § 3161(b).

3            This stipulation is entered into for the following reasons:

4            1.       The United States Attorney’s Office has developed an early disposition

5    program for immigration cases, authorized by the Attorney General pursuant to the

6    PROTECT ACT of 2003, Pub. L. 108-21.

7            2.       The early disposition program for immigration cases is designed to: (1)

8    reduce the number of hearings required in order to dispose of a criminal case; (2) avoid

9    having more cases added to the court’s trial calendar, while still discharging the

10   government’s duty to prosecute federal crimes; (3) reduce the amount of time between

11   complaint and sentencing; and (4) avoid adding significant time to the grand jury calendar

12   to seek indictments in immigration cases, which in turn reduces court costs.

13           3.       The government has made a plea offer in this case that requires defendant to

14   waive specific rights and hearings in exchange for “fast-track” downward departure under

15   USSG § 5K3.1. This offer will be withdrawn if it is not timely accepted before this matter is

16   indicted and before a preliminary hearing is held.

17           4.       Under Federal Rule of Criminal Procedure 5.1(c), the Court “must hold the

18   preliminary hearing within a reasonable time, but no later than 14 days after the initial

19   appearance if the defendant is in custody . . . .”

20           5.       However, under Rule 5.1(d), “[w]ith the defendant’s consent and upon a

21   showing of good cause—taking into account the public interest in the prompt disposition of

22   criminal cases—a magistrate judge may extend the time limits in Rule 5.1(c) one or more

23   times . . . .”

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1           6.       Furthermore, under the Speedy Trial Act, 18 U.S.C. § 3161(b), “[a]ny

2    information or indictment charging an individual with the commission of an offense shall

3    be filed within thirty days from the date on which such individual was arrested or served

4    with a summons in connection with such charges.”

5           7.       Defendant needs additional time to review the discovery and investigate

6    potential defenses to make an informed decision as to how to proceed, including whether

7    to accept the fast-track plea agreement.

8           8.       Accordingly, the parties jointly request that the Court schedule the

9    preliminary hearing in this case no sooner than 90 days from today’s date.

10          9.       Defendant is in custody and agrees to the extension of the 14-day deadline

11   imposed by Rule 5.1(c) and waives any right to remedies under Rule 5.1(c) or 18 U.S.C.

12   § 3161(b), provided that the information or indictment is filed on or before the date ordered

13   pursuant to this stipulation .

14          10.      The parties agree to the extension of that deadline.

15          11.      This extension supports the public interest in the prompt disposition of

16   criminal cases by permitting defendant to consider entering into a plea agreement under the

17   United States Attorney’s Office’s fast-track program for § 1326 defendants.

18          12.      Accordingly, the additional time requested by this stipulation is allowed

19   under Federal Rule of Criminal Procedure 5.1(d).

20          13.      In addition, the parties stipulate and agree that the time between today and

21   the scheduled preliminary hearing is excludable in computing the time within which the

22   defendant must be indicted and the trial herein must commence pursuant to the Speedy

23   Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), considering the factors under 18 U.S.C.

24   § 3161(h)(7)(B)(i) and (iv).


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1           14.    This is the first request for an extension of the deadlines by which to conduct

2    the preliminary hearing and to file an indictment.

3           DATED this 4th day of November, 2020.

4                                                   Respectfully submitted,

5                                                   NICHOLAS A. TRUTANICH
                                                    United States Attorney
6
       /s/ Brandon C. Jaroch                                    //s//
7     BRANDON C. JAROCH                             JARED L. GRIMMER
      Assistant Federal Public Defender             Assistant United States Attorney
8     Counsel for Defendant
      JUAN JOSE MORENO-GALLARDO
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2                       UNITED STATES DISTRICT COURT
                             DISTRICT OF NEVADA
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     UNITED STATES OF AMERICA,                         Case No. 2:20-mj-00948-NJK -XXX
4
                     Plaintiff,                        Order on Stipulation to Extend
5
                                                       Deadlines to Conduct Preliminary
            v.                                         Hearing and File Indictment
6
     JUAN JOSE MORENO-GALLARDO,
7
       aka “Juan Jose Moreno,”
8
                     Defendant.
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11          Based on the stipulation of counsel, good cause appearing, and the best interest of

12   justice being served; the time requested by this stipulation being excludable in computing

13   the time within which the defendant must be indicted and the trial herein must commence

14   pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(b) and (h)(7)(A), and Federal Rule of

15   Criminal Procedure 5.1, considering the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv):

16          IT IS THEREFORE ORDERED that the preliminary hearing currently scheduled

17   on November 16, 2020, at the hour of 4:00 p.m., be vacated and continued to Friday,

18   February 19, 2021 at the hour of 4:00 p.m., in Courtroom 3C.

19          DATED this 5th day of November, 2020.

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21                                                HONORABLE NANCY J. KOPPE
                                                  UNITED STATES MAGISTRATE JUDGE
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